             Case 7:18-cv-00173-EKD-RSB Document 20 Filed 08/01/18 Page 1 of 6 Pageid#: 134




                                   IN THE UNITED STATES DISTRICT COURT FOR THE
                                           WESTERN DISTRICT OF VIRGINIA
                                                ROANOKE DIVISION


                    PULASKI CHURCH OF GOD,
                                           Plaintiff,
                    v.
                                                                       Civil Action No.: 7:18-CV-00173-EKD
                    BROTHERHOOD MUTUAL
                    INSURANCE COMPANY, et al.
                                           Defendants.



                                                    AMENDED COMPLAINT

                          COMES NOW the Plaintiff, PULASKI CHURCH OF GOD (“Pulaski”, “Insured” or

                   “Plaintiff”), by counsel, and files this Amended Complaint against the Defendant,

                   BROTHERHOOD MUTUAL INSURANCE COMPANY (“Brotherhood”, “Insurer” or

                   “Defendant”).

                          1.       Plaintiff is a Virginia Corporation with its principal offices in Pulaski County,

                   Virginia.

                          2.       Defendant is a corporation doing business in all counties in the

                   Commonwealth of Virginia and is an admitted insurance carrier for the issuance of property

                   and casualty fire insurance policies in the Commonwealth of Virginia.

                                               THE CONTRACT OF INSURANCE

                          3.       At all times relevant hereto, Plaintiff has been the owner of improved real

                   property located at 1621 Bob White Blvd., Pulaski, Virginia 24301 (“Property” or “Subject

                   Property”) in which it had an ownership interest in.
 SPICER, OLIN &
ASSOCIATES, P.C.
 504 S. MAIN ST.
BLACKSBURG, VA
      24060


                                                                   1
Case 7:18-cv-00173-EKD-RSB Document 20 Filed 08/01/18 Page 2 of 6 Pageid#: 135




             4.      The Property was covered under the policy of insurance issued by

      Brotherhood.

             5.      At all times relevant hereto the Plaintiff owned the Subject Property, along

      with the personal property located in or which was used in conjunction with the Subject

      Property (“Personal Property” or “Contents”).

             6.      Brotherhood issued the Policy to the Plaintiff which covered the Property, an

      which, at all times applicable hereto, was in full force, and for which, all insurance premiums

      had been fully paid.

             7.      The Policy issued by Brotherhood to the Plaintiff was an “all risk” policy, by

      which Brotherhood agreed to cover and insure against damage due to all risks of loss, other

      than those excluded or limited under the policy.

             8.      The policy was issued pursuant to a building valuation report, which

      determined the value of the Property for determination of the cost of the premium, and it

      included the site preparation, structure, roofing, foundation, interior footings, among other

      things, on both an estimated replacement cost and an actual cash value cost.

             9.      On or about January 10, 2017, the Property and its contents were damaged by

      a fire. The risk of loss was covered by, and not excluded under the policy of insurance.

             10.     A claim was made with Brotherhood in a timely fashion.

             11.     Brotherhood accepted the claim as covered, and the Insurer paid a portion of

      the loss and damage, but refused to pay the claim in full.

             12.     Brotherhood has failed to pay for all loss and damage incurred by the Plaintiff

      which is covered under the policy including its failure to pay the difference between actual




                                                      2
Case 7:18-cv-00173-EKD-RSB Document 20 Filed 08/01/18 Page 3 of 6 Pageid#: 136




      cash value and the replacement cost on the dwelling, damage to the structure, personal

      property losses, among other things.

                13.    Despite its obligations under the Virginia insurance statutes and regulations

      Brotherhood refused to adjust the claim in a good faith method and failed to adjust the claim

      in writing or provide period written reports on the status of its investigation and payments.

                14.    Plaintiff has satisfied all conditions precedent to the filing of this suit, if any,

      which exist under the Policy, or those conditions have been waived by the insurer, or the

      insurer is estopped from relying upon the same.

                15.    Plaintiff has supplied Brotherhood with all necessary proofs of loss, if any

      were required.

                16.    The Insurer has breached its obligations under the contract of insurance.

                17.    Brotherhood has an obligation to pay all amounts due under the insurance

      policy.

                18.    Brotherhood has breached its obligation to make full payment.

                19.    Plaintiff has been damaged by the breach of contract by Brotherhood.

                20.    Brotherhood had an obligation to adjust and pay this claim promptly and

      Plaintiff is entitled to interest on the monies owed by Brotherhood from a date no later than

      30 days after the claim until the amount is paid.

                                                   COUNT I
                                              (Breach of Contract)

                21.    Paragraphs 1-20 are incorporated herein.

                22.    Plaintiff is the owner of the Property.

                23.    Defendant has an obligation to pay for all damages to the Property and

      personal property therein, cause by, or resulting from, the fire, along with extra expenses




                                                         3
Case 7:18-cv-00173-EKD-RSB Document 20 Filed 08/01/18 Page 4 of 6 Pageid#: 137




      related to the dwelling including costs and expenses to secure the premises, to safeguard the

      premises, for debris removal, to rebuild the structure, among other things. Brotherhood

      breached these obligations.

              24.     Brotherhood and Plaintiff entered into a contract of insurance for which

      Plaintiff had paid all premiums applicable hereto, and under which Brotherhood agreed to

      provide insurance coverage.

              25.     Brotherhood is in breach of the contract for, among other things, failure to pay

      the claim in full, failure to adjust the claim in good faith and promptly, and failure to appraise

      the amount of the losses.

              26.     The Insurer has breached its obligations under the policy of insurance.

              27.     Plaintiff has sustained damage to the Property due to a covered loss or losses,

      which damage and loss, not being excluded by the insurance policy, is covered.

              28.     Plaintiff has had to make payments out of its own funds given the failure of

      Brotherhood to abide by its commitments.

              29.     Brotherhood has breached its obligations under the contract of insurance for

      many reasons including, but not limited to, failing to adjust the loss in a timely manner,

      failing to pay the undisputed portion of the coverage, failing to keep the insured advised of

      the status of the claim as required by law and/or regulation, failure to consider the claim of

      the plaintiff in light of the policy provisions, failure to extend the limitation for filing suit in

      the policy despite having caused the delay which resulted in the limitation coming into play,

      failing to timely acknowledge and act on proofs of loss or evidence of losses as submitted by

      the Plaintiff and as required by the Policy, by delaying the adjustment process, all among

      other things.




                                                        4
Case 7:18-cv-00173-EKD-RSB Document 20 Filed 08/01/18 Page 5 of 6 Pageid#: 138




                30.    Brotherhood’s failure to adjust the loss in good faith has resulted in damage to

      the Plaintiff.

                31.    Va. Code § 38.2-209 provides in pertinent part that:

                       Notwithstanding any provision of the law to the contrary, in any
                       civil case in which an insured individual sues his insurer to
                       determine what coverage, if any, exists under his present policy
                       . . . the individual insured shall be entitled to recover from the
                       insurer costs and such reasonable attorney fees as the court may
                       award. However, those costs and attorney’s fees shall not be
                       awarded unless the court determines that the insurer, not acting
                       in good faith, has either denied coverage or failed or refused to
                       make payment under the policy. “Individual.” As used in this
                       section, shall mean and include any person, group, business,
                       company, organization, receiver, trustee, security, corporation,
                       partnership, associate, or governmental body, and this definition
                       is declaratory of existing policy.

                32.    This action constitutes a suit by the Plaintiff to determine what coverage

      exists.

                33.    Brotherhood has not adjusted the loss in good faith and has denied and has

      refused to make payment under the policy of insurance in a timely manner and has refused or

      failed to take such other actions as are necessary to adjust the loss in good faith.

                34.    In addition to a judgment on the amount of the loss, Plaintiff is entitled to

      payment of its costs and attorney’s fees herein.

                WHEREFORE, the Plaintiff moves this Court to enter judgment against the

      Defendant BROTHERHOOD MUTUAL INSURANCE COMPANY for Two Million, Five

      Hundred Thousand dollars ($2,500,000.00), along with its costs, pre- and post-judgment

      interest, attorney’s fees, and such other relief as this Court may deem just and mete.




                                                       5
Case 7:18-cv-00173-EKD-RSB Document 20 Filed 08/01/18 Page 6 of 6 Pageid#: 139




                                            Respectfully Submitted,
                                            PULASKI CHURCH OF GOD


                                     By:    __/s Kristopher R. Olin__________
                                            Of Counsel


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             Counsel for Plaintiff

                                     CERTIFICATE OF SERVICE

              I hereby certify that on July 31, 2018, I electronically filed the foregoing with the
      Clerk of Court using the CM/ECF system, which provided electronic notice all counsel of
      record:


                                                            __/s Kristopher R. Olin__________
                                                            Kristopher R. Olin
                                                            SPICER, OLIN & ASSOCIATES, PC
                                                            Email: kolin@spicerlawfirm.com




                                                     6
